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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

ACORDA THERAPEUTICS, INC.,           )
                                     )
                  Plaintiff,         )
                                     )
      v.                             )   C.A. No. 14-882 (LPS)
                                     )
ACT AVIS LABO RA TORIES FL, INC.,    )
                                     )
                  Defendant.         )
~~~~~~~~~~~~~~)
ACORDA THERAPEUTICS, INC. and   )
ALKERMES PHARMA IRELAND LIMITED,)
                                )
              Plaintiffs,       )
                                )
     v.                         ) C.A. No. 14-909 (LPS)
                                )
AUROBINDO PHARMA LTD. and       )
AUROBINDO PHARMA USA, INC.,     )
                                )
              Defendants.       )
ACORDA THERAPEUTICS, INC. and   )
ALKERMES PHARMA IRELAND LIMITED,)
                                )
              Plaintiffs,       )
                                )
     v.                         )        C.A. No. 14-917 (LPS)
                                )
ALKEM LABORATORIES LTD.,        )
                                )
              Defendant.        )
ACORDA THERAPEUTICS, INC. and   )
ALKERMES PHARMA IRELAND LIMITED,)
                                )
              Plaintiffs,       )
                                     )
      v.                             )   C.A. No. 14-922 (LPS)
                                     )
ROXANE LABORATORIES, INC.,           )
                                     )
                  Defendant.         )
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     ACORDA THERAPEUTICS, INC. and   )
     ALKERMES PHARMA IRELAND LIMITED,)
                                     )
                   Plaintiffs,       )
                                     )
          v.                         )       C.A. No. 14-932 (LPS)
                                     )
                                     )

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     ACCORD HEALTHCARE, INC.,
                                     )
                   Defendant.        )
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j    ACORDA THERAPEUTICS, INC. and   )
     ALKERMES PHARMA IRELAND LIMITED,)
                                     )
                   Plaintiffs,       )
                                     )
          v.                         )       C.A. No. 14-935 (LPS)
                                     )
     MYLAN PHARMACEUTICALS INC.,     )
                                     )
                   Defendant.        )
     ACORDA THERAPEUTICS, INC. and   )
     ALKERMES PHARMA IRELAND LIMITED,)
                                     )
                   Plaintiffs,       )
                                         )
          v.                             )   C.A. No. 14-941 (LPS)
                                         )
     TEVA PHARMACEUTICALS USA, INC.,     )
                                         )
                      Defendant.         )
     ACORDA THERAPEUTICS, INC. and   )
     ALKERMES PHARMA IRELAND LIMITED,)
                                     )
                    Plaintiffs,      )
                                     )
          V.                         )       C.A. No. 14-955 (LPS)
                                     )
     APOTEX CORP. AND APOTEX INC.,   )
                                     )
                    Defendants.      )




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    ACORDA THERAPEUTICS, INC. and   )
    ALKERMES PHARMA IRELAND LIMITED,)
                                    )
                  Plaintiffs,       )
                                    )
         v.                         )                    C.A. No. 15-77 (LPS)
                                    )
    ACTAVIS LABORATORIES FL, INC.,  )

                          Defendant.           9-2i
                                [DltOPO~Effi SCHEDULING ORDER

           Plaintiffs Acorda Therapeutics, Inc. ("Acorda") and Alkermes Pharma Ireland Limited

    ("Alkermes") (together, "Plaintiffs") and defendants Actavis Laboratories FL, Inc. ("Actavis"),

    Aurobindo Pharma Ltd. and Aurobindo Pharma USA, Inc. (together, "Aurobindo"), Alkem

    Laboratories Limited ("Alkem"), Roxane Laboratories, Inc. ("Roxane"), Accord Healthcare, Inc.

    ("Accord"), Mylan Pharmaceuticals Inc. ("Mylan"), Teva Pharmaceuticals USA, Inc. ("Teva"),

    and Apotex Corp. and Apotex Inc. (together, "Apotex") (collectively, "Defendants") request that

    the following Proposed Scheduling Order be entered in the above-captioned cases.
I          Th~h~;:f         &~A\  \
                                                  , 2015, the Court having conducted a Case

    Management Conference/Rule 16 scheduling and planning conference pursuant to Local Rule

    16.2(a) and Judge Stark's Revised Procedures for Managing Patent Cases (which is posted at

    http://www.ded.uscourts.gov,; see Chambers, Judge Leonard P. Stark, Patent Cases) on

    April l, 2015, and the parties having determined after discussion that the matter cannot be

    resolved at this juncture by settlement, voluntary mediation, or binding arbitration;

           IT IS HEREBY ORDERED that:

                   The above-captioned cases (the "Proceedings") are consolidated for all purposes

    and all papers shall be filed in Civil Action No. 1: 14-cv-00882-LPS.




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           1.     Rule 26(a)(l) Initial Disclosures and £-Discovery Default Standard.             Unless

    otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

    Federal Rule of Civil Procedure 26(a)(l) within five (5) days of the date of this Order. Initial

    disclosures shall be treated as Highly Confidential - Outside Counsel Only until entry of a

    Protective Order in the Proceedings. If they have not already done so, the parties are to review

    the Court's Default Standard for Discovery, Including Discovery of Electronically Stored

    Information ("ESI") (which is posted at http://www.ded.uscourts.gov; see Other Resources,

    Default Standards for Discovery, and is incorporated herein by reference).

           2.     Joinder of Other Parties and Amendment of Pleadings. All motions to join other

    parties, and to amend or supplement the pleadings, shall be filed on or before

    September 14, 2015.

           3.     Application to Court for Protective Order.       Should counsel find it will be

    necessary to apply to the Court for a protective order specifying terms and conditions for the

    disclosure of confidential information, counsel should confer and attempt to reach an agreement

    on a proposed form of order and submit it to the Court within ten (10) days from the date of this

    Order. Should counsel be unable to reach an agreement on a proposed form of order, counsel

    must follow the provisions of Paragraph 8(g) below.

           Any proposed protective order must include the following paragraph:

                  Other Proceedings. By entering this order and limiting the disclosure of
                  information in this case, the Court does not intend to preclude another
                  court from finding that information may be relevant and subject to
                  disclosure in another case. Any person or party subject to this order who
                  becomes subject to a motion to disclose another party's information
j                 designated "confidential" [the parties should list any other level of


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                  designation, such as "highly confidential," which may be provided for in
                  the protective order] pursuant to this order shall promptly notify that party
                  of the motion so that the party may have an opportunity to appear and be
                  heard on whether that information should be disclosed.



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       4.      Papers Filed Under Seal. In accordance with section G of the Administrative

Procedures Governing Filing and Service by Electronic Means, a redacted version of any sealed

document shall be filed electronically within seven (7) days of the filing of the sealed document.

       Should any party intend to request to seal or redact all or any portion of a transcript of a

court proceeding (including a teleconference), such party should expressly note that intent at the

start of the court proceeding. Should the party subsequently choose to make a request for sealing

or redaction, it must, promptly after the completion of the transcript, file with the Court a motion

for sealing/redaction, and include as attachments (1) a copy of the complete transcript

highlighted so the Court can easily identify and read the text proposed to be sealed/redacted, and

(2) a copy of the proposed redacted/sealed transcript. With their request, the party seeking

redactions must demonstrate why there is good cause for the redactions and why disclosure of

the redacted material would work a clearly defined and serious injury to the party seeking

redaction.

       5.      Courtesy Copies.      Other than with respect to "discovery matters," which are

governed by paragraph 8(g), and the final pretrial order, which is governed by paragraph 20, the

parties shall provide to the Court two (2) courtesy copies of all briefs and one (1) courtesy copy

of any other document filed in support of any briefs (i.e., appendices, exhibits, declarations,

affidavits etc.). This provision also applies to papers filed under seal.

       6.      ADR Process.       This matter is referred to a magistrate judge to explore the

possibility of alternative dispute resolution.

       7.      Discovery. Unless otherwise ordered by the Court, the limitations on discovery

set forth in Local Rule 26.1 shall be strictly observed.




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                   a.      Fact Discovery Cut Off. All fact discovery in this case shall be initiated

     so that it will be completed on or before December 18, 2015.

                   b.      Document Production. The parties shall produce documents on a

     rolling basis. Document production shall be substantially complete by August 14, 2015. For

     purposes of this paragraph, "substantially complete" shall mean that at least 90-95% of all

     relevant, non-privileged documents are produced by that date.

                   c.          Requests for Admission.      A maximum of 50 common requests for

     admission are permitted for Plaintiffs directed towards all Defendants, and a maximum of

I    50 common requests for admission are permitted for all Defendants directed towards Plaintiffs.

     No more than an additional 35 individual requests for Plaintiffs collectively to a particular

     Defendant Family 1 and an additional 35 individual requests for admission for each Defendant

     Family to Plaintiffs collectively are permitted. These limitations do not apply to requests for

     admission related to the authentication of documents.

                   d.          Interrogatories.

                          1.          A maximum of 15 common interrogatories are permitted for

                                      Plaintiffs directed towards all Defendants, and a maximum of

                                       15 common interrogatories are permitted for all Defendants

                                      directed towards Plaintiffs.      No more than an additional

                                       5 individual interrogatories are permitted for plaintiffs directed

                                      toward each defendant family, and no more than an additional




l1          The parties agree that a "Defendant Family," as used throughout this Scheduling Order,
            consists of eight (8) separate defendant families, as follows: (i) Actavis; (ii) Aurobindo;
            (iii) Alkem; (iv) Roxane; (v) Accord (vi) Mylan; (vii) Teva; and (viii) Apotex.


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                                 5 individual interrogatories are permitted for each Defendant

                                 Family directed towards Plaintiffs.

                    ii.          The Court encourages the parties to serve and respond to

                                 contention interrogatories early in the case.     In the absence of

                                 agreement among the parties, contention interrogatories, if filed,

                                 shall first be addressed by the party with the burden of proof The

                                 adequacy of all interrogatory answers shall be judged by the level

                                 of detail each party provides; i.e., the more detail a party provides,

                                 the more detail a party shall receive.

               e.         Depositions.



l                    i.          Limitation on Hours for Deposition Discovery.             All of the

                                 Defendants collectively on one side shall be limited to a total of

                                 one hundred and fifty (150) hours of taking fact testimony by

                                 deposition upon oral examination. Plaintiffs on the other side shall

                                 be limited to a total of thirty-five (35) hours of taking fact

                                 testimony by deposition upon oral examination with respect to


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'
                                 each Defendant Family.      These limitations do not apply to third-

                                 party fact depositions, except that any fact depositions of

                                 Plaintiffs' former employees represented by Plaintiffs' counsel

                                 shall be included in Defendants' 150-hour limit.         The parties

                                 reserve the right to seek more time on a showing of good cause. A

                                 deposition noticed pursuant to Fed. R. Civ. P. 30(b)(6) shall count

                                 as one deposition regardless of the number of topics therein. Each




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                            individual deposition shall be limited to a maximum of 7 hours,

                            unless such maximum is increased by agreement of the parties or

                            by order of the Court. The parties agree that individual depositions

                            of the inventors shall be limited to 10 hours. If an individually

                             noticed deponent is also designated as a 30(b)(6) witness, the

                             30(b)(6) portion of their testimony shall not count towards their

                             individual deposition time limit.

                ii.          Location of Depositions.     Any party or representative (officer,

                             director, or managing agent) of a party filing a civil action in this

                             district court must ordinarily be required, upon request, to submit

                            to a deposition at a place designated within this district, assuming

                             visas can be obtained, or at another location mutually agreed

                             upon by the parties. Exceptions to this general rule may be made

                             by agreement between the parties or by order of the Court. A

                             defendant who becomes a counterclaimant, cross-claimant, or

                             third-party plaintiff shall be considered as having filed an action in

                             this Court for the purpose of this provision.

           f.         Disclosure of Expert Testimony.

                 I.          Expert Reports. For the party who has the initial burden of proof

                             on the subject matter, the initial Federal Rule 26(a)(2) disclosure of

                             expert testimony is due on or before February 12, 2016. The

                             supplemental disclosure to contradict or rebut evidence on the

                             same matter identified by another party is due on or before




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                             March 11, 2016. Reply expert reports from the party with the

                             initial burden of proof are due on or before April 8, 2016. No

                             other expert reports will be permitted without either the consent of

                             all parties or leave of the Court. Along with the submissions of the

                             expert reports, the parties shall advise of the dates and times of

                             their experts' availability for deposition. All expert depositions

                             shall be completed by June 10, 2016.

                n.           Expert Report Supplementation. The parties agree they will permit

                             expert declarations to be filed in connection with motions briefing

                             (including case-dispositive motions).

                m.           Objections to Expert Testimony. To the extent any objection to

                             expert testimony is made pursuant to the principles announced in

                             Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993), as

                             incorporated in Federal Rule of Evidence 702, it shall be made by

                             motion no later than July 8, 2016, unless otherwise ordered by the

                             Court. Briefing on such motions is subject to the page limits set

                             out in connection with briefing of case dispositive motions.

           g.         Discovery Matters and Disputes Relating to Protective Orders.

                 i.          Any discovery motion filed without first complying with the

                             following procedures will be denied without prejudice to renew

                             pursuant to these procedures.

                n.           Should counsel find, after good faith efforts -      including oral

                             communication among Delaware and Lead Counsel for all parties




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                       to the dispute -   that they are unable to resolve a discovery matter

                       or a dispute relating to a protective order, the parties involved in

                       the discovery matter or protective order dispute shall submit a joint

                       letter in substantially the following form:

                       Dear Judge Stark:

                       The parties in the above-referenced matter write to request
                       the scheduling of a discovery teleconference.

                       The following attorneys, including at least one Delaware
                       Counsel and at least one Lead Counsel per party,
                       participated in a verbal meet-and-confer (in person and/or
                       by telephone) on the following date(s):

                       Delaware Counsel:

                       Lead Counsel:

                       The disputes requiring judicial attention are listed below:

                       [provide here a non-argumentative list of disputes requiring
                       judicial attention]

               m.      On a date to be set by separate order, generally not less than forty-

                       eight (48) hours prior to the conference, the party seeking relief

                       shall file with the Court a letter, not to exceed three (3) pages,

                       outlining the issues in dispute and its position on those issues. On a

                       date to be set by separate order, but generally not less than twenty-

                       four (24) hours prior to the conference, any party opposing the

                       application for relief may file a letter, not to exceed three (3)

                       pages, outlining that party's reasons for its opposition.

                iv.    Each party shall submit two (2) courtesy copies of its discovery

                       letter and any attachments.




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                    v.          Should the Court find further briefing necessary upon conclusion

                                of the telephone conference, the Court will order it. Alternatively,

                                the Court may choose to resolve the dispute prior to the telephone

                                conference and will, in that event, cancel the conference.

         8.   Motions to Amend.

               a.        Any motion to amend (including a motion for leave to amend) a pleading

shall NOT be accompanied by an opening brief but shall, instead, be accompanied by a letter, not

to exceed three (3) pages, describing the basis for the requested relief, and shall attach the

proposed amended pleading as well as a "blackline" comparison to the prior pleading.

               b.        Within seven (7) days after the filing of a motion in compliance with this

Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5)

pages.

               c.        Within three (3) days thereafter, the moving party may file a reply letter,

not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

teleconference to address the motion to amend.

         9.    Motions to Strike.

               a.        Any motion to strike any pleading or other document shall NOT be

accompanied by an opening brief but shall, instead, be accompanied by a letter, not to exceed

three (3) pages, describing the basis for the requested relief, and shall attach the document to be

stricken.

               b.        Within seven (7) days after the filing of a motion in compliance with this

Order, any party opposing such a motion shall file a responsive letter, not to exceed five (5)

pages.




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               c.      Within three (3) days thereafter, the moving party may file a reply letter,

not to exceed two (2) pages, and, by this same date, the parties shall file a letter requesting a

teleconference to address the motion to strike.

       10.     Tutorial Describing the Technology and Matters in Issue.           Unless otherwise

ordered by the Court, the parties shall provide the Court, no later than the date on which their

opening claim construction briefs are due, a tutorial on the technology at issue. In that regard,

the parties may separately or jointly submit a DVD of not more than thirty (30) minutes. The

tutorial should focus on the technology in issue and should not be used for argument. The parties

may choose to file their tutorial( s) under seal, subject to any protective order in effect. Each

party may comment, in writing (in no more than five (5) pages) on the opposing party's tutorial.

Any such comment shall be filed no later than the date on which the answering claim

construction briefs are due. As to the format selected, the parties should confirm the Court's

technical abilities to access the information contained in the tutorial (currently best are "mpeg"

or "quicktime").

       11.     Claim Construction Issue Identification. On September 21. 2015, the parties

shall exchange a list of those claim term(s)/phrase(s) that they believe need construction and

their propo_sed claim construction of those term(s)/phrase(s). This document will not be filed

with the Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a

Joint Claim Construction Chart to be submitted on October 19, 2015. The parties' Joint Claim

Construction Chart should identify for the Court the term(s)/phrase(s) of the claim(s) in issue,

and should include each party's proposed construction of the disputed claim language with

citation(s) only to the intrinsic evidence in support of their respective proposed constructions. A

copy of the patent(s) in issue as well as those portions of the intrinsic record relied upon shall be




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submitted with this Joint Claim Construction Chart. In this joint submission, the parties shall not

provide argument.

       12.     Claim Construction Briefing. The parties shall contemporaneously submit initial

briefs on claim construction issues on November 9, 2015. The parties' answering/responsive

briefs shall be contemporaneously submitted on January 15, 2016.                No reply briefs or

supplemental papers on claim construction shall be submitted without leave of the Court. If the

parties agree to file joint briefs, Plaintiffs collectively and Defendants collectively shall be

entitled to twenty (20) additional pages over the page limitations set forth in Local Rule 7 .1.3(4).

       13.     Hearing on Claim Construction. Beginning at 9:00 a.m on March 7, 2016, the

Court will hear argument on claim construction. The parties shall notify the Court, by joint letter

submission, no later than the date on which their answering claim construction briefs are due:

(i) whether they request leave to present testimony at the hearing; and (ii) the amount of time

they are requesting be allocated to them for the hearing.

       Provided that the parties comply with all portions of this Scheduling Order, and any other

orders of the Court, the parties should anticipate that the Court will issue its claim construction

order within sixty (60) days of the conclusion of the claim construction hearing. If the Court is

unable to meet this goal, it will advise the parties no later than sixty (60) days after the

conclusion of the claim construction hearing.

        14.    Interim Status Report. On August 3, 2015, counsel shall submit a joint letter to

the Court with an interim report on the nature of the matters in issue and the progress of

discovery to date.    Thereafter, if the Court deems it necessary, it will schedule a status

conference.




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        15.       Supplementation.    Absent agreement among the parties, and approval of the

Court, no later than January 8, 2016, the parties must finally supplement, inter alia, the

identification of all accused products and of all invalidity references.

        16.       Case Dispositive Motions. There will be no summary judgment motions without

leave of Court.

        17.       Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion filed with the Clerk. Any non-dispositive motion should

contain the statement required by Local Rule 7 .1.1.

        18.       Pretrial Conference.   On September l, 2016, the Court will hold a pretrial

conference in Court with counsel beginning at 2:00 p.m. Unless otherwise ordered by the Court,

the parties should assume that filing the pretrial order satisfies the pretrial disclosure requirement

of Federal Rule of Civil Procedure 26(a)(3). The parties shall file with the Court the joint

proposed final pretrial order with the information required by the form of Revised Final Pretrial

Order - Patent, which can be found on the Court's website (www.ded.uscourts.gov), on or

before August 22, 2016. Unless otherwise ordered by the Court, the parties shall comply with

the timeframes set forth in Local Rule 16.3(d)(l)-(3) for the preparation of the joint proposed

final pretrial order.

        The parties shall provide the Court two (2) courtesy copies of the joint proposed final

pretrial order and all attachments.

        As noted in the Revised Final Pretrial Order- Patent, the parties shall include in their joint

proposed final pretrial order, among other things:




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                a.      a request for a specific number of hours for their trial presentations. as

well as a requested number of days, based on the assumption that in a typical bench trial day

there will be 6 to 7 hours of trial time;

                b.      their position as to whether the Court should allow objections to efforts to

impeach a witness with prior testimony, including objections based on lack of completeness

and/or lack of inconsistency;

                c.      their position as to whether the Court should rule at trial on objections to

expert testimony as beyond the scope of prior expert disclosures, taking time from the parties'

trial presentation to argue and decide such objections, or defer ruling on all such objections

unless renewed in writing following trial, subject to the proviso that a party prevailing on such a

post-trial objection will be entitled to have all of its costs associated with a new trial paid for by

the party that elicited the improper expert testimony at the earlier trial; and

                d.      their position as to how to make motions for judgment as a matter of law,

whether it be immediately at the appropriate point during trial or at a subsequent break and

whether such motions may be supplemented in writing.

        19.     Motions in Limine. Motions in limine shall not be separately filed. All in limine

requests and responses thereto shall be set forth in the proposed pretrial order. Each SIDE shall

be limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine

request and any response shall contain the authorities relied upon; each in limine request may be

supported by a maximum of three (3) pages of argument and may be opposed by a maximum of

three (3) pages of argument, and the side making the in limine request may add a maximum of

one (1) additional page in reply in support of its request. If more than one party is supporting or

opposing an in limine request, such support or opposition shall be combined in a single three (3)




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page submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered

by the Court. No separate briefing shall be submitted on in limine requests, unless otherwise

permitted by the Court.

       20.     Trial.   This matter is scheduled for a five (5) day bench trial beginning at

8:30 a.m. on, September 19, 2016, with the subsequent trial days also beginning at

8:30 a.m.    The trial day will end no later than 5:00 p.m. each day.

       21.     Post-Trial Briefing. The parties will address the post-trial briefing schedule and

page limits in the proposed final pretrial order.



                                               SO ORDERED:




                                               CHIEF, UNITED STATES DISTRICT JUDGE




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